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                                           Exhibit D

                             Independent Director Deposition Topics




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          The definitions set forth in Exhibit A filed herewith apply to the following Deposition

Topics:

                     INDEPENDENT DIRECTOR DEPOSITION TOPICS

          1. The decision to commence the Chapter 11 Cases, including the individuals consulted,

the process followed and the reasons for the decision.

          2.     The decision to pursue claims and causes of action against the Lender Parties,

including the individuals consulted, the process followed and the reasons for the decision.

          3.     The relationship between Emergent and each of the Debtors.

          4.     The selection, responsibilities, and compensation of the Independent Director.

          5.     The work performed by the Independent Director, including the materials

considered by the Independent Director in carrying out his duties and the decisions made on the

Debtors’ behalf.

          6.     The creditors and stakeholders of the Debtors.

          7.     The documents considered by the Independent Director in approving the filing of

the Chapter 11 Cases.

          8.     The specific tasks and services performed for the Debtors by or through Imperial

Finance and the individuals performing those tasks and services.

          9.     The costs charged to the Debtors for the tasks services provided by or through

Imperial Finance and how such costs were determined/allocated.

          10.    The determination by the Debtors to obtain services through Imperial Finance,

rather than a third party.

          11.    Any current or prior effort by the Debtors to raise capital or reduce debt,

including (in each case) the potential sale of any of the Debtors’ life insurance policies.




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         12.    The value of the Debtors’ assets and the process, methodologies, considerations

and data used to value such assets, including any asset value reported in connection with (i) any

current or prior effort to raise capital or reduce debt, including (in each case) the potential sale of

any of the Debtors’ life insurance policies, and (ii) the determination to file the Chapter 11

Cases.

         13.    The management of White Eagle.

         14.    The independence of the Debtors from their non-Debtor affiliates.




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